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[Additional counsel on signature pages]
Attorneys for Lead Plaintiff Yedid Lawi

                   IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

                                                Master File No. 2:18-cv-510-JNP
                                                (Consolidated with 2:18-cv-514-DB)
IN RE POLARITYTE, INC. SECURITIES
                                                MEMORANDUM OF LAW IN
LITIGATION,
                                                FURTHER SUPPORT OF MOTION OF
                                                LEAD PLAINTIFF YEDID LAWI FOR
THIS DOCUMENT RELATES TO:
                                                APPROVAL OF LEAD AND LIAISON
All Actions
                                                COUNSEL

                                                District Judge Jill Parrish


       Pursuant to the Court’s Order entered January 16, 2019 (Dkt. No. 35), Lead Plaintiff

Yedid Lawi (“Lead Plaintiff” or “Lawi”) respectfully submits this memorandum of law in further

support of his motion for appointment of Lead and Liaison Counsel for the putative Class in this

action (the “Consolidated Action”).

                               PRELIMINARY STATEMENT

       On August 27, 2018, Lawi moved this Court, pursuant to the PSLRA 1 and Rule 42 of the

Federal Rules of Civil Procedure, for the entry of an Order: (i) consolidating the then-pending

Related Actions against PolarityTE; (ii) appointing Lawi as Lead Plaintiff on behalf of all


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 All capitalized terms herein are defined in Lawi’s moving brief, unless otherwise indicated.
See Dkt. No. 26.
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persons and entities that purchased or otherwise acquired PolarityTE securities during the Class

Period; and (iii) approving Lawi’s selection of the Pomerantz and Holzer firms as Co-Lead

Counsel and Harper Law as Liaison Counsel for the Class. Dkt. No. 26.

          On November 28, 2018, the Court granted Lawi’s motion to consolidate the Related

Actions. Dkt. No. 32.

          On January 16, 2019, the Court entered an Order (i) granting Lawi’s motion for

appointment as Lead Plaintiff, and (ii) requesting supplemental briefing with respect to Lead

Plaintiff motion for appointment of counsel. Dkt. No. 35. Specifically, the Court “order[ed]

Lawi to file supplemental briefing on the issue of the necessity of multiple counsel.” Id. at 9.

          For the reasons set forth herein:

   (i)       Lead Plaintiff withdraws his nomination of Holzer and designates Pomerantz as his

             sole choice of Lead Counsel for the Class. However, to the extent that the Court’s

             Order appointing Lead Counsel in the Consolidated Action ultimately permits

             Pomerantz to designate additional counsel to perform work, then Lead Plaintiff

             anticipates instructing Pomerantz to work with Holzer to communicate with Lead

             Plaintiff concerning the Consolidated Action and all progress and significant

             developments therein.

   (ii)      Lead Plaintiff respectfully submits that the involvement of Liaison Counsel with

             extensive experience litigating in the District of Utah will benefit the Class, and that

             Harper Law is well qualified to serve in that capacity. If the Court is not inclined to

             appoint Liaison Counsel, Lead Plaintiff respectfully submits that: (a) Pomerantz is

             capable of prosecuting this action independently; but (b) if the Court’s Order


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           appointing Lead Counsel in this action ultimately permits Pomerantz to designate

           additional counsel to perform work in this Action, then Lead Plaintiff anticipates

           instructing Pomerantz to work with Harper Law to the extent necessary to fulfill Lead

           Plaintiff’s obligation to the Class to ensure that counsel prosecutes this action in a

           cost-effective manner.

                             LEAD COUNSEL FOR THE CLASS

       The PSLRA vests authority in the Lead Plaintiff to select and retain lead counsel, subject

to the approval of the Court. See 15 U.S.C. § 78u-4(a)(3)(B)(v). See also See In re Molson

Coors Brewing Co. Sec. Litig., 233 F.R.D. 147, 150 (D. Del. 2005) (“Once the lead plaintiff is

chosen, that party is primarily responsible for selecting lead counsel.”).

       Having duly reviewed and considered the Court’s Order, Lead Plaintiff hereby withdraws

his nomination of Holzer as Co-Lead Counsel and designates Pomerantz as his sole choice for

Lead Counsel in the Consolidated Action. However, to the extent that the Court ultimately

enters an Order appointing Pomerantz as Lead Counsel in the Consolidated Action and

permitting Lead Counsel to designate additional counsel to perform work, then Lead Plaintiff

anticipates instructing Pomerantz to work with Holzer to communicate with Lead Plaintiff

concerning the Consolidated Action and all progress and significant developments therein.

                           LIAISON COUNSEL FOR THE CLASS

       Courts in this Judicial District and the Tenth Circuit routinely appoint Liaison Counsel

(also referred to as “local counsel”) in securities class action litigations. See, e.g., Kapur v.

USANA Health Sciences, Inc., No. 2:07CV177DAK, 2007 U.S. Dist. LEXIS 77258, at *12-*13

(D. Utah Oct. 17, 2007) (appointing lead plaintiff and “approving of her selection of . . . Lead


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Counsel and . . . associated local counsel.”); In re NPS Pharms., Inc., 2:06-cv-00570-PGC-

PMW, 2006 U.S. Dist. LEXIS 87231, at *14 (D. Utah Nov. 17, 2006) (appointing lead plaintiff,

lead counsel, and liaison counsel); Ellis v. Spectranetics Corp., No. 15-cv-01857-KLM, 2015

U.S. Dist. LEXIS 169498, at *7 (D. Colo. Dec. 18, 2015) (appointing lead plaintiff and

approving selections of co-lead and liaison counsel).

       Harper Law is well qualified to serve as Liaison Counsel in this Action. As its firm

resume reflects, Harper Law is a litigation firm located in Salt Lake City, Utah, and a significant

portion of the firm’s matters are class actions and other complex litigations. See Dkt. No. 26-7.

Its attorneys are experienced litigators and have extensive familiarity with the Local Civil Rules

of this Judicial District. Id. Considering Harper Law’s significant experience and relevant

expertise, Lead Plaintiff respectfully submits that Harper Law and Pomerantz are capable of

working together to prosecute this Action without incurring unnecessary expenses or undertaking

duplicative efforts.

       If the Court is disinclined to appoint Liaison Counsel in this action, Lead Plaintiff

respectfully submits that Pomerantz is well qualified to prosecute this action independently,

without the need to designate any firm as Liaison Counsel. However, Lead Plaintiff has an

obligation pursuant to the PSLRA to monitor counsel’s work and to direct them to prosecute this

action in an efficient, cost-effective manner while obtaining the best result for the Class. Being

mindful of that obligation, Lead Plaintiff believes that the Class’s interests would be well served

by the involvement of counsel with significant experience litigating securities class actions in the

District of Utah, and that Harper Law is well qualified to work with Pomerantz in that capacity.

Accordingly, if the Court’s Order appointing Lead Counsel in this action ultimately permits


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Pomerantz to designate additional counsel to perform work in the Consolidated Action, then

Lead Plaintiff anticipates that he will instruct Pomerantz to work with Harper Law to the extent

necessary to advance the interests of the Class in a cost-effective manner, including, inter alia,

consultation with Harper Law with respect to local procedural and administrative matters.

                                        CONCLUSION

       For the foregoing reasons, Lead Plaintiff respectfully requests that the Court enter an

Order approving its selections of Pomerantz as Lead Counsel and Harper Law as Liaison

Counsel for the Class.

Dated: January 25, 2019                        Respectfully submitted,


                                                /s/ Jon V. Harper
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                                               Counsel for Yedid Lawi and
                                               Proposed Lead Counsel for the Class




                               CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of January 2019, a true and correct copy of the
foregoing document was served electronically by CM/ECF to the parties registered to the Court’s
CM/ECF system.



                                                     /s/Jon V. Harper
                                                       Jon V. Harper




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